        Case 3:21-cv-01674-MO         Document 76       Filed 02/23/23     Page 1 of 14




Clifford S. Davidson, OSB No. 125378
csdavidson@swlaw.com
Lea K. Schneider, OSB No. 145154
lschneider@swlaw.com
SNELL & WILMER L.L.P.
1455 SW Broadway, Suite 1750
Portland, Oregon 97201
Telephone: 503.624.6800
Facsimile: 503.624.6888
Attorneys for Defendant Omegle.com LLC


                              UNITED STATES DISTRICT COURT

                                  DISTRICT OF OREGON

                                   PORTLAND DIVISION

A.M., an individual,
                                                  Case No. 3:21-CV-01674-MO
               Plaintiff,
                                                  ANSWER AND AFFIRMATIVE DEFENSES
vs.

OMEGLE.COM LLC,

               Defendant.


       Defendant Omegle.com LLC answers plaintiff’s Second Amended Complaint as follows:

       1.      Defendant admits that this is a lawsuit. Defendant otherwise denies the allegations

of paragraph 1.

       2.      Defendant admits that some Omegle users choose to be connected at random with

other Omegle users. Defendant admits that “Talk to Strangers!” is an Omegle tagline. Except as

expressly admitted, Defendant denies the allegations of paragraph 2.

       3.      Defendant admits that when two people who did not previously know each other
are matched for a video meeting, and both people have their cameras on, then video depicting

one user appears on the screen of the other. Except as expressly admitted, Defendant denies the

allegations of paragraph 3.

                                                                                  Snell & Wilmer
Page 1 - ANSWER                                                           1455 SW Broadway, Suite 1750
                                                                             Portland, Oregon 97201
                                                                                   503.624.6800
        Case 3:21-cv-01674-MO              Document 76   Filed 02/23/23     Page 2 of 14



       4.      Denied.

       5.      Omegle lacks information or belief sufficient to respond to the first sentence of

paragraph 5 and on that basis denies it. Omegle relies on users to honestly indicate that they are

over age 18 in order to use Omegle. Omegle admits that it does not require proof or

documentation of age as a condition of use, and further avers that neither does any of the major

chat or social media platforms. Omegle admits that users cannot specify the age of those with

whom they are matched. Except as expressly admitted, Defendant denies the allegations of

paragraph 5.

       6.      Defendant admits that, as is the case with most chat or social media sites, some

users derive sexual pleasure from Omegle’s contents. Defendant admits that it is aware that some

users masturbate while using Omegle. The homepage speaks for itself; Defendant denies that the

purported quotation in the Second Amended Complaint is the same as the words that appear on

the homepage, and it appears to be a paraphrase. Except as expressly admitted, Defendant denies

the allegations of paragraph 6.

       7.      Defendant lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of paragraph 7.

       8.       Defendant lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of paragraph 8.

       9.      Defendant lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of paragraph 9.

       10.     Defendant lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of paragraph 10.

       11.     Defendant lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of paragraph 11, and further avers based on public news sources that Mr.

Fordyce is serving a prison term.

       12.     Defendant admits that Plaintiff seeks recovery, and that the Second Amended

Complaint speaks for itself.

                                                                                   Snell & Wilmer
Page 2 - ANSWER                                                            1455 SW Broadway, Suite 1750
                                                                              Portland, Oregon 97201
                                                                                    503.624.6800
         Case 3:21-cv-01674-MO          Document 76       Filed 02/23/23     Page 3 of 14



                 RESPONSES RE PARTIES, JURISDICTION AND VENUE

        13.     Defendant lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of paragraph 13.

        14.     Admitted.

        15.     Denied. The Eugene Division is the proper divisional venue for this action and is

where trial should occur. LR 3-2, LR 3-3.

        16.     Defendant admits that the prayer exceeds $75,000 and that the parties are not

citizens of the same state. Defendant otherwise lacks knowledge or information sufficient to

form a belief as to the truth of the allegations of paragraph 16, or that paragraph contains legal

conclusions.

                                    RESPONSES RE FACTS

        17.     Admitted that Omegle is a free chat website. Admitted that users can be randomly

paired if they wish. Admitted that the vast majority of Omegle’s users are strangers to one

another. Except as expressly admitted, Omegle denies the allegations of paragraph 17.

        18.     Although the numbers listed in paragraph 18 vary somewhat, Omegle admits the

allegations of paragraph 18 are generally accurate.

        19.     Admitted that Leif K-Brooks is Omegle’s Founder and sole employee. He does

not generally refer to himself as “CEO.”

        20.     Admitted that the BBC published data about Omegle, and that the BBC data

speaks for itself.

        21.     Defendant denies that its anonymity feature was an innovation as there have been,

and are, other anonymous chat websites. Defendant admits the second sentence, except to the

extent that (a) users may specify interests, and (b) if they do, then they are matched randomly

with users who indicate at least some of those same interests.

        22.     Admitted that Omegle’s popularity stems from its various features, and

anonymity is among those features. Admitted that “Talk to strangers!” is Omegle’s tagline.

Except as expressly admitted, Omegle denies the allegations of paragraph 22.

                                                                                    Snell & Wilmer
Page 3 - ANSWER                                                             1455 SW Broadway, Suite 1750
                                                                               Portland, Oregon 97201
                                                                                     503.624.6800
        Case 3:21-cv-01674-MO           Document 76       Filed 02/23/23      Page 4 of 14



       23.     Admitted that users can click a “stop” button to end a chat. Denied that pressing

“stop” automatically moves a user to a new chat. Except as expressly admitted, Omegle denies

the allegations of paragraph 23.

       24.     Admitted that some users visit Omegle for purposes of sexual gratification.

Except as expressly admitted, Omegle denies the allegations of paragraph 24.

       25.     Admitted that it is possible to encounter nude users immediately. Defendant

otherwise lacks knowledge or information sufficient to form a belief as to the truth of the

allegations of paragraph 25.

       26.     Admitted that the Omegle homepage included the warning, “Predators have been

known to use Omegle, so please be careful.” Except as expressly admitted, Omegle denies the

allegations of paragraph 26.

       27.     Admitted that Omegle does not require registration or users’ names. Admitted that

Omegle does not require a potential user to prove that user’s age. Except as expressly admitted,

Omegle denies the allegations of paragraph 27.

       28.     Omegle’s homepage speaks for itself, and Plaintiff mischaracterizes it. There is a

“Video” button for the moderated section, and a separate “Unmoderated section” button. Omegle

otherwise denies the allegations of paragraph 28.

       29.     Omegle denies that persons under the age of 18 are permitted to use the site, and

avers that it explicitly tells potential users that they must be over 18. Omegle admits that it does

not require any potential user to prove that user’s age. The final sentence of paragraph 29 is a

legal conclusion to which no response is required. Except as expressly admitted, Omegle denies

the allegations of paragraph 29.

       30.     Admitted that Omegle is accessible only through its website. Except as expressly

admitted, Omegle denies the allegations of paragraph 30.

       31.     Defendant denies that it sells user data. Admitted that Defendant sells

advertisements for placement on its website. Admitted that some advertisements are for adult

websites, but that ads containing adult images are not placed on the Omegle homepage. Rather,

                                                                                     Snell & Wilmer
Page 4 - ANSWER                                                              1455 SW Broadway, Suite 1750
                                                                                Portland, Oregon 97201
                                                                                      503.624.6800
        Case 3:21-cv-01674-MO           Document 76       Filed 02/23/23      Page 5 of 14



the homepage contains an inoffensive text link that is clearly labeled as appropriate only for

people over the age of 18, and which prompts users to confirm that they are 18 or older. This

requirement has always been in place. Defendant denies that the screenshot referenced in

paragraph 31 depicts an advertisement that Defendant has caused to be placed on Omegle.com or

from which Omegle profits. To the extent the screenshot is authentic, it depicts an ad placed by a

spam bot from which Omegle does not earn revenue and actively works to block. Except as

expressly admitted, Omegle denies the allegations of paragraph 31.

       32.      Denied that users under 18 are permitted to use Omegle. Denied that the

purported ad pasted into the Second Amended Complaint above paragraph 32 is one that

Defendant would cause to be placed in a location that could be viewed by a user who had not

confirmed that they were 18 or older. As described above in paragraph 31, a user who had not

certified that they were 18 years or older would, at most, see a text link with inoffensive content.

Were the user to click on it, that user would be required to certify that they were at least 18 years

old to proceed to a graphic advertisement. The purported heycum.com advertisement shown in

the Second Amended Complaint, if authentic, was placed by a spam bot and Omegle.com did not

receive revenue from its placement.

       33.      The BBC article speaks for itself.

       34.      The BBC article speaks for itself.

       35.      Admitted that Omegle made that statement at some point, otherwise denied.

       36.      Admitted, although “at all relevant times” is a legal conclusion to which no

response is required.

       37.      Admitted that some people have warned against using Omegle. Admitted that

media have reported on Omegle. Except as expressly admitted, Omegle denies the allegations of

paragraph 37.

       38.      Defendant denies the first sentence. Defendant admits that it removed the warning

but otherwise denies the allegations of the second sentence. Omegle denies the third sentence

and avers that it uses Hive as part of its video chat moderation. Defendant further avers that it

                                                                                     Snell & Wilmer
Page 5 - ANSWER                                                              1455 SW Broadway, Suite 1750
                                                                                Portland, Oregon 97201
                                                                                      503.624.6800
        Case 3:21-cv-01674-MO          Document 76      Filed 02/23/23     Page 6 of 14



makes extensive efforts to identify and block abusive users and allows other users to report

abusive conduct. Defendant further avers that in 2014, it used software called SafeVChat as part

of its video chat moderation (it is not the same as what one might find by Googling “SafeVChat”

now). Except as expressly admitted, Omegle denies the allegations of paragraph 38.

       39.     Defendant lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of paragraph 39.

       40.     Defendant lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of paragraph 40.

       41.     Defendant lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of paragraph 41.

       42.     Defendant lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of paragraph 42.

       43.     Defendant lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of paragraph 43.

       44.     Defendant lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of paragraph 44.

       45.     Defendant lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of paragraph 45.

       46.     Defendant lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of paragraph 46.

       47.     Defendant lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of paragraph 47.

       48.     Defendant lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of paragraph 48.

       49.     Defendant lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of paragraph 49.

       50.     Defendant lacks knowledge or information sufficient to form a belief as to the

                                                                                  Snell & Wilmer
Page 6 - ANSWER                                                           1455 SW Broadway, Suite 1750
                                                                             Portland, Oregon 97201
                                                                                   503.624.6800
        Case 3:21-cv-01674-MO          Document 76       Filed 02/23/23     Page 7 of 14



truth of the allegations of paragraph 50.

       51.     Admitted based on publicly available information that Fordyce pled guilty as

noted. Defendant otherwise lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of paragraph 51.

       52.     Defendant lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of paragraph 52.

       53.     Defendant lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of paragraph 53.

       54.     Defendant lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of paragraph 54.

       55.     Defendant lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of paragraph 55.

       56.     Defendant lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of paragraph 56.

       57.     Defendant lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of paragraph 57.

       58.     Defendant lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of paragraph 58.

       59.     Defendant lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of paragraph 59.

       60.     Defendant lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of paragraph 60.

       61.     Defendant lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of paragraph 61.

       62.     Defendant lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of paragraph 62.

       63.     The first sentence is a legal conclusion. With respect to the second sentence:

                                                                                   Snell & Wilmer
Page 7 - ANSWER                                                            1455 SW Broadway, Suite 1750
                                                                              Portland, Oregon 97201
                                                                                    503.624.6800
        Case 3:21-cv-01674-MO             Document 76     Filed 02/23/23     Page 8 of 14



defendant denies that it failed to take action against predators, and denies the remainder of the

sentence based on lack of knowledge or information sufficient to form a belief as to the truth of

the allegations.

       64.     The news articles speak for themselves.

       65.     Admitted as to the existence of the statement. Defendant denies the second

sentence.

       66.     Defendant lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of paragraph 66, although Defendant denies that an 11-year-old would not

understand the requirement that she be over the age of 13 in order to use Omegle.

       67.     Paragraph 67 states a legal conclusion.

       68.     Denied.

       69.     Admitted that the sentence “Predators have been known to use Omegle, so please

be careful” was removed in approximately June 2021. Except as expressly admitted, Omegle

denies the allegations of paragraph 69.

       70.     Denied.

       71.     Denied.

       72.     Admitted that Defendant does not have a button on the chat screen to report

abusive conduct, and further averred that users can report abusive conduct through other means.

Admitted that Defendant does not require users to register their name or phone number.

Admitted that Omegle does not have an app component that can be made available on a third-

party marketplace, and further averred that app stores don’t work the way Plaintiff appears to

believe. Except as expressly admitted herein, Defendant denies the allegations of paragraph 72.

       73.     Denied that the website is unsafely designed.

       74.     The updated Privacy Policy speaks for itself, and Defendant avers that certain

categories of information listed in paragraph 74—“mobile device identifiers,” “browser type,”

and “operating system information”—are not mentioned in the updated Privacy Policy.

Defendant denies that data collected from users is not used to try to stop abuse.

                                                                                    Snell & Wilmer
Page 8 - ANSWER                                                             1455 SW Broadway, Suite 1750
                                                                               Portland, Oregon 97201
                                                                                     503.624.6800
           Case 3:21-cv-01674-MO        Document 76       Filed 02/23/23     Page 9 of 14



           75.   Defendant lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of paragraph 75.

           76.   Denied.

                           RESPONSE TO FIRST CLAIM FOR RELIEF

           77.   Defendant incorporates and realleges its prior responses as though set forth here

in full.

           78.   Admitted that Omegle has been placed into the stream of commerce, otherwise

denied.

           79.   Denied.

           80.   Denied.

           81.   Denied.

           82.   Denied.

           83.   Paragraph 83 is a legal conclusion.

           84.   Denied.

                        RESPONSE TO SECOND CLAIM FOR RELIEF

           85.   Defendant incorporates and realleges its prior responses as though set forth here

in full.

           86.   Admitted that Omegle has been placed into the stream of commerce, otherwise

denied.

           87.   Denied that there is any “failure” as alleged in paragraph 87. Defendant further

avers that there are such remedies and Defendant does take action to ban abusive users. To the

extent not addressed specifically, the allegations of paragraph 87 are denied.

           88.   Paragraph 88 is a legal conclusion.

           89.   Denied.

           90.   Denied.

                        REPSPONSE TO THIRD CLAIM FOR RELIEF

           91.   Defendant incorporates and realleges its prior responses as though set forth here

                                                                                    Snell & Wilmer
Page 9 - ANSWER                                                             1455 SW Broadway, Suite 1750
                                                                               Portland, Oregon 97201
                                                                                     503.624.6800
           Case 3:21-cv-01674-MO         Document 76       Filed 02/23/23    Page 10 of 14



in full.

           92.    Admitted that Omegle has been placed into the stream of commerce, otherwise

denied to the extent a response is required.

           93.    Denied.

           94.    Admitted that Omegle has been placed into the stream of commerce, otherwise

denied.

           95.    Denied.

           96.    Denied.

                        RESPONSES TO FOURTH CLAIM FOR RELIEF

           97.    Defendant incorporates and realleges its prior responses as though set forth here

in full.

           98.    The first sentence is a legal conclusion. Defendant denies the second sentence.

           99.    Defendants admits that Omegle was placed into the stream of commerce,

otherwise denied.

           100.   Denied.

                         RESPONSES TO FIFTH CLAIM FOR RELIEF

           101.   Defendant incorporates and realleges its prior responses as though set forth here

in full.

           102.   Denied.

           103.   Denied.

           104.   Denied.

           105.   Admitted that people over the age of 18 may use Omegle. Admitted that users

may be randomly matched. Admitted that “Talk to strangers!” is Omegle’s tagline. Except as

expressly admitted, Defendant denies the allegations of paragraph 105.

           106.   Admitted.

           107.   Defendant admits that it had been informed of instances of children being

matched with people who subsequently exploited them. Except as expressly admitted, Defendant

                                                                                     Snell & Wilmer
Page 10 - ANSWER                                                             1455 SW Broadway, Suite 1750
                                                                                Portland, Oregon 97201
                                                                                      503.624.6800
        Case 3:21-cv-01674-MO          Document 76       Filed 02/23/23      Page 11 of 14



denies the allegations of paragraph 107.

       108.    Defendant lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of paragraph 108.

       109.    Defendant lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of paragraph 109.

       110.    Defendant lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of paragraph 110.

       111.    This is a legal conclusion.

                       RESPONSE TO SIXTH CLAIM FOR RELIEF

       112.    Because the Court dismissed this claim, no responses to its allegations are

necessary.

                                  AFFIRMATIVE DEFENSES

       Preface: As both parties to this lawsuit appreciate, Plaintiff’s product liability theory is

novel in the website context. The theory seeks to commodify a set of interactions that, in reality,

aren’t about tangible property or physical products. In order not to waive them, there are certain

product liability affirmative defenses that we must raise. Some of them might come across as

harsh, blaming, or uncaring; we don’t mean them to be. We’re doing the best we can to navigate

uncharted territory.

                              FIRST AFFIRMATIVE DEFENSE

       113.    Divisional venue is improper. Plaintiffs incorrectly allege that Defendant resides

in Multnomah County. Rather, to the extent Defendant resides anywhere in Oregon, it is in

Marion County, which falls within the Eugene Division of this Court. Even if the judge

assignment remains the same, trial should occur in Eugene. See LR 3-3.

                            SECOND AFFIRMATIVE DEFENSE

       114.    Any harm that the Plaintiff suffered was caused through the intentional acts of a

third party, Mr. Fordyce, and not Defendant.



                                                                                     Snell & Wilmer
Page 11 - ANSWER                                                             1455 SW Broadway, Suite 1750
                                                                                Portland, Oregon 97201
                                                                                      503.624.6800
        Case 3:21-cv-01674-MO          Document 76         Filed 02/23/23   Page 12 of 14



                              THIRD AFFIRMATIVE DEFENSE

       115.    Without in any way minimizing the acts Mr. Fordyce was convicted of

committing, the negligence of Plaintiff’s parents was as much a cause, if not more of a cause, of

Plaintiff’s injuries than Defendant’s acts or omissions.

                            FOURTH AFFIRMATIVE DEFENSE

       116.    Plaintiff is comparatively negligent in that she disregarded the requirements of

age and parental permission when accessing Defendant’s website and gave out her personal

contact information to a stranger.

                              FIFTH AFFIRMATIVE DEFENSE

       117.    To the extent Michigan product liability law applies, Plaintiff’s product liability

claims are barred by the statute of limitations. Under Michigan law, Plaintiff was required to

have filed this action not later than January 2021.

                              SIXTH AFFIRMATIVE DEFENSE

       118.    To the extent Michigan product liability law applies, Plaintiff assumed the risk of

harm associated with using an online chat website not intended for children under 13.

                            SEVENTH AFFIRMATIVE DEFENSE

       119.    To the extent Michigan product liability law applies, Plaintiff’s non-economic

damages are capped by state statute, M.C.L. § 600.1483.

                             EIGHTH AFFIRMATIVE DEFENSE

       120.    Plaintiff misused Omegle, a website intended to allow for anonymous chats, by

providing her personal contact information to a stranger—contrary to Omegle’s express safety

recommendation and the purpose for which Omegle was to be used.

                              NINTH AFFIRMATIVE DEFENSE

       121.    Omegle properly prepared, marketed, and provided proper direction and warnings

that users should not disclose personal contact information, that human behavior is

fundamentally uncontrollable, and that Omegle users are responsible for their own behavior such

that Plaintiff was properly warned that a properly designed chat website still carries unavoidable

                                                                                    Snell & Wilmer
Page 12 - ANSWER                                                            1455 SW Broadway, Suite 1750
                                                                               Portland, Oregon 97201
                                                                                     503.624.6800
        Case 3:21-cv-01674-MO          Document 76       Filed 02/23/23        Page 13 of 14



risks. See ORS 30.920(3).

                              TENTH AFFIRMATIVE DEFENSE

       122.    To the extent Plaintiff alleges injury based on collecting personal information of

other girls and providing them to Mr. Fordyce or another predator, her product liability claims

are barred by ORS 31.180.

                            ELEVENTH AFFIRMATIVE DEFENSE

       123.    To the extent Plaintiff alleges injury based on the sending of child pornography,

her product liability claims are barred by ORS 31.180.

                            TWELFTH AFFIRMATIVE DEFENSE

       124.    Plaintiff’s claims are barred by the § 230 of the Communications Decency Act.

                          THIRTEENTH AFFIRMATIVE DEFENSE

       125.    Plaintiff’s claims are barred, in whole or in part, by the First Amendment to the

United States Constitution or Article 1, § 8 of the Oregon Constitution.

                         FOURTEENTH AFFIRMATIVE DEFENSE

       126.    To the extent that the “purchase” date of Omegle.com, a free website, was more

than ten years before Plaintiff filed the Complaint, Plaintiff’s claims are barred by the 10-year

statute of ultimate repose that applies to product liability claims pursuant to ORS 30.905.

                            FIFTEENTH AFFIRMATIVE DEFENSE

       127.    Applying the provisions of Public Law 115-164, commonly known as FOSTA-

SESTA, in this case violates Art. 1, § 9, cl. 3 of the Federal Constitution.

       ///

       ///

       ///

       ///

       ///

       ///

       ///

                                                                                       Snell & Wilmer
Page 13 - ANSWER                                                               1455 SW Broadway, Suite 1750
                                                                                  Portland, Oregon 97201
                                                                                        503.624.6800
         Case 3:21-cv-01674-MO             Document 76       Filed 02/23/23     Page 14 of 14



         WHEREFORE, Defendant prays for judgment as follows:

                 A. Dismissing this action with prejudice;

                 B. Awarding costs pursuant to 28 U.S.C. § 1920; and

                 C. Such other and further relief as the Court deems necessary or just.



         DATED this 23rd day of February, 2023.

                                                       SNELL & WILMER L.L.P.



                                                       /s/ Clifford S. Davidson
                                                       Clifford S. Davidson, OSB No. 125378
                                                       Lea K. Schneider, OSB No. 145154
                                                       Attorneys for Defendant Omegle.com LLC



4875-7322-8623




                                                                                        Snell & Wilmer
Page 14 - ANSWER                                                                1455 SW Broadway, Suite 1750
                                                                                   Portland, Oregon 97201
                                                                                         503.624.6800
